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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION


IN RE AQUEOUS FILM-FORMING                             MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY
                                                       KIDDE-FENWAL, INC.’S
LITIGATION
                                                       REPLY MEMORANDUM OF
                                                       LAW IN FURTHER
                                                       SUPPORT OF ITS MOTION
                                                       FOR PARTIAL SUMMARY
                                                       JUDGMENT


THIS DOCUMENT RELATES TO:

City of Stuart, Florida v. 3M Company, et al., 2:18-
cv-03487-RMG
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               The material facts here are not in dispute. Plaintiff recognizes three indisputably

distinct and divisible alleged contaminants: (1) PFOS, (2) branched PFOA, and (3) linear PFOA.

(Opp. at 1–2; see Mot. at 1–2.) Plaintiff “does not dispute that Kidde is not the source of the PFOS

or the branched PFOA in its drinking water and does not intend to introduce evidence to the

contrary.” (Opp. at 1; see Mot. at 1.) Plaintiff further acknowledges that any “PFOA produced

through the telomerization process generally contains only linear isomers.” (Opp. at 2.) Indeed,

Plaintiff claims that its own “experts can evaluate Stuart’s water and quantify the amount of PFOA

manufactured via ECF1 and the amount of PFOA manufactured via flurotelomerization [sic], and

thereby identify the amount of PFOA contamination resulting from use of FT-based AFFF.” (Opp.

at 2.) In short, Plaintiff claims that Kidde is a potential source only of linear PFOA in Stuart’s

water—and only a portion of that linear PFOA. Indeed, Plaintiff’s own expert asserts that



                                          (JX 13 (Martin Rpt.) at 85.) Notwithstanding these

concessions, Plaintiff seeks to hold Kidde liable for “the totality of the contamination”—including

PFOS and branched PFOA, which it was not a source of—under a “pollution” exception to

Florida’s comparative fault scheme. (Opp. at 1, 3–5.)

               1.      Because there is no dispute that Kidde’s AFFF did not cause any PFOS or

branched PFOA contamination, the Court need not decide whether a “pollution” exception applies

to grant summary judgment to Kidde for all claims based on those substances. Florida courts have

held that “[a] finding of liability necessarily precedes a determination of damages.” Engle v.



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       Plaintiff claims that: (i) “ECF is the only process that was ever used for the manufacture
of PFOS, and ‘                                                      ’”; (ii) “
                                            ’”; and (iii) “PFOA produced by 3M’s ECF method
contains a mixture of approximately 20% branched isomers and 80% linear isomers.” (Opp. at 2.)
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Liggett Grp., Inc., 945 So. 2d 1246, 1262–63 (Fla. 2006). Thus, a “Plaintiff in a product liability

action must ordinarily prove that a manufacturer defendant produced the product that allegedly

caused the injury.” Morton v. Abbott Labs., 538 F. Supp. 593, 595 (M.D. Fla. 1982). Damages

cannot be imposed, jointly and severally or otherwise, where “[i]t is undisputed that the []

defendant[] did not manufacture or sell any of the products that allegedly caused injury to the

[plaintiff]”—here, PFOS and branched-PFOA contamination. Engle, 945 So. 2d at 1276 (“A

defendant who is found to be zero percent at fault for a plaintiff’s damages cannot be held jointly

and severally liable for those damages.”); Grobman v. Posey, 863 So. 2d 1230, 1235 (Fla. Dist.

Ct. App. 2003) (“Central to the concept of joint and several liability covered by section 768.81 is

the idea that a potential defendant caused or contributed to a plaintiff’s injury.”). Thus, regardless

of any fault-allocation principles, the Court should grant summary judgment to Kidde because

Plaintiff concedes it cannot establish that Kidde caused PFOS and branched-PFOA contamination.

       2.      The applicable fault-allocation scheme is irrelevant because, even if such a scheme

could apply, that scheme would not render Kidde responsible for all alleged contamination. “It is

a prerequisite to the application” of joint and several liability “that the concurrent or successive

tortious acts or omissions cause a single harm (injury or damage) and that it is impossible to

determine what proportion each tortfeasor contributed.” 1 Am. Law of Torts § 3:10 (2022); see

Randle--E. Ambulance Serv., Inc. v. Millens, 294 So. 2d 38, 40 (Fla. Dist. Ct. App. 1974) (“Joint

and several liability is established . . . where an act, subsequent in time, concurs with a prior cause

to produce ‘inseparable damages’”).2 Here, Plaintiff admits that the alleged contamination is


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        See also Rest. 2d Torts § 881 (“If two or more persons, acting independently, tortiously
cause distinct harms or a single harm for which there is a reasonable basis for division according
to the contribution of each, each is subject to liability only for the portion of the total harm that he
has himself caused.”); id. § 433A(1) cmt. d (contemplating apportionment for the “pollution of a
stream . . . from different sources” where purported harm is divisible).

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divisible. (Opp. at 1, 3; See Mot. at 1.) Because Plaintiff cannot hold Kidde responsible for distinct

contamination it indisputably did not cause, Kidde can be liable only for, at most, some portion of

the linear PFOA contamination.

       3.      The Court should reject Plaintiff’s attempt to recast its action—which is explicitly

based on defective product, design defect, strict and negligent failure to warn, negligence, and

private nuisance (Sec. Am. Compl. ¶¶ 212-287)—as a “pollution” case subject to joint-and-several

liability, even as it relies on comparative fault in its own brief. (See Omnibus Opp. at 18.) Plaintiff

has not brought a cause of action for pollution, even though Florida recognizes such claims. See

Fla. Stat. § 376.313(3). Plaintiff offers no support for the idea that the sale of a lawful product—

particularly FT-AFFF,                                                                      (See JX 22

(Brown Dep.) at 511:22-512:4)—can constitute “pollution.” Plaintiff cites no case law at all on

the “pollution” exception to Florida’s comparative-fault rule, or any authority that applies the

exception in a case remotely analogous to this one.

       4.      Finally, the Court should reject Plaintiff’s claim that Kidde’s “[r]eliance” on

opinions offered by Plaintiff’s experts is somehow a “waiver of any challenge to their

methodologies.” (Opp. at 1, 5.) Plaintiff cites no support for this baseless argument. On summary

judgment, Kidde cites Plaintiff’s own experts to demonstrate that they agree that Kidde did not

cause any PFOS or branched-PFOA contamination (and that such contamination is divisible from

any contamination Kidde could have caused). (Mot. at 1, 2, 4.) By referencing some opinions,

based on undisputed facts, of Plaintiff’s experts, to identify the flaws in Plaintiff’s own theories,

Kidde does not concede the admissibility of any, let alone all, opinions of that expert or endorse

that expert’s methodologies. See Frederick v. S. Star Cent. Gas Pipeline, Inc., 944 F. Supp. 2d

1083, 1087 n.6 (D. Kan. 2013).



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Dated: February 10, 2023                       Respectfully Submitted,



 /s/ Jonathan I. Handler                       /s/ Robert J. Giuffra, Jr.
 Jonathan I. Handler                           Robert J. Giuffra, Jr.
 jihandler@daypitney.com                       giuffrar@sullcrom.com
 Keith H. Bensten                              Justin J. DeCamp
 kbensten@daypitney.com                        decampj@sullcrom.com
 DAY PITNEY LLP                                Nicole Friedlander
 One Federal Street                            friedlandern@sullcrom.com
 Boston, Massachusetts 02110                   SULLIVAN & CROMWELL LLP
 T: (617) 345-4600                             125 Broad Street
 F: (617) 345-4745                             New York, NY 10004
                                               T: (212) 558-4000
 John W. Cerreta                               F: (212) 558-3588
 jcerreta@daypitney.com
 DAY PITNEY LLP                                Judson O. Littleton
 242 Trumbull Street                           littletonj@sullcrom.com
 Hartford, Connecticut 06103                   SULLIVAN & CROMWELL LLP
 T: (860) 275-0665                             1700 New York Avenue, N.W., Suite 700
 F: (860) 881-2517                             Washington, D.C. 20006-5215
                                               T: (202) 956-7500
                                               F: (202) 956-6330



                                               Counsel for Defendant Kidde-Fenwal, Inc.




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Pursuant to CMO-19F, the Defense Co-Leads, on behalf of the DCC, hereby certify that the
foregoing supplemental brief does not duplicate the arguments or record evidence already
presented in the omnibus summary judgment brief or the reply in support thereof. The motion for
leave to file this supplemental brief is also filed with the approval of the Defense Co-Leads.

      /s/ Michael A. Olsen

      Michael A. Olsen                          Brian Duffy
      Mayer Brown LLP                           Duffy & Young LLC
      71 South Wacker Drive                     96 Broad Street
      Chicago, IL 60606                         Charleston, SC 29401
      P: (312) 701-7120                         P: (843) 720-2044
      F: (312) 706-8742                         F: (843) 720-2047
      molsen@mayerbrown.com                     bduffy@duffyandyoung.com

      Joseph G. Petrosinelli                    David E. Dukes
      Williams & Connolly LLP                   Nelson Mullins Riley & Scarborough LLP
      680 Maine Ave., S.W.                      1320 Main Street, 17th Floor
      Washington, DC 20024                      Columbia, SC 29201
      P: (202) 434-5547                         P: (803) 255-9451
      F: (202) 434-5029                         F: (803) 256-7500
      jpetrosinelli@wc.com                      david.dukes@nelsonmullins.com


      Co-Lead Counsel for Defendants            Co-Liaison Counsel for Defendants




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